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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

JOHN DOE                                              CIVIL ACTION

VERSUS                                                NO. 19-13425-WBV-JCW

THE ADMINISTRATORS OF THE TULANE
EDUCATION FUND                                        SECTION D(2)


                                       ORDER

       A hearing on Plaintiff’s Motion for Temporary Restraining Order and Motion

for Preliminary Injunction (R. Doc. 2) is set for Wednesday, January 8, 2020, at 2:30

p.m.   The Court notes that only the Motion for Preliminary Injunction remains

pending.

       IT IS ORDERED that the hearing on the Motion for Preliminary Injunction

shall proceed in accordance with the following deadlines:

       (1)   Any stipulations that have been reached are to be signed by all counsel,

labeled “Trial Stipulations,” and electronically filed, on or before Tuesday, January

7, 2020, at 9:00 a.m.

       (2) If deposition testimony is to be submitted in lieu of live testimony, counsel

are to confer regarding the portions of the deposition transcript that are irrelevant.

Those portions are to be redacted from the single transcript to be used at the hearing.

The parties shall file objections, if any, to deposition testimony by way of short

memoranda no later than Monday, January 6, 2020, at 3:00 p.m., with oppositions

thereto to be electronically filed on the same day by 5:00 p.m. Objections must be
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identified by page and line number. Counsel are to promptly confer relative to any

necessary conferences to be held by them in advance of this deadline to ensure that

each deadline can be and is met.

      The parties shall submit a copy of the redacted deposition transcript(s) for the

Court to be able to rule on any objection(s). These are also to be electronically filed

unless they are voluminous. If voluminous, a copy is to be delivered to chambers.

      (3) Expert witness reports, if any, must be submitted to chambers no later

than Monday, January 6, 2020 at 3:00 p.m.

      (4) The Court notes that the parties have filed exhibit lists (R. Docs. 68, 70).

The Court further requires that counsel are to confer regarding the exhibits that each

side presently intends to introduce at trial and, thereafter, prepare two joint exhibit

books (or set of exhibit books) with a single numbering system to be used at the

hearing. The exhibit book(s) must be tabbed by exhibit and contain an index of the

exhibits. An exhibit number must appear on each exhibit, and any in globo exhibits

must contain page or Bates numbers. The two exhibit books to be used by the judge

and the Court’s law clerk during the hearing must be delivered to chambers no later

Monday, January 6, 2020 at 5:00 p.m.

      The two exhibit books provided for the judge's use must include all exhibits

that the parties presently intend to introduce at trial. Exhibits to which there are

no objections, or to which any objections have been overruled by the Court, shall be

listed first on the index and placed in the front of the exhibit books. Exhibits to which
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there are pending objections shall be listed at the end of the index and placed at the

back of the exhibit books.

       At the beginning of the hearing, counsel are to be prepared, and shall be

instructed, to stipulate into evidence all of the exhibits to which there are no

objections, as well as any exhibits to which the Court has overruled objections.

       Counsel are to confer regarding preparation of any copies of the exhibit book(s)

to be used by them during trial. A paper copy of the admitted exhibits also will be

needed for the Court's record for this action. A copy of the exhibit book to be used by

a witness, if one is to be provided for use by the witness, must be brought to Court on

the morning of the hearing, and shall not contain any exhibits to which there are

pending objections, unless and until those objections are overruled by the Court.

Generally, however, exhibits are to be shown to the witness on the courtroom's

multiple display screens by means of the Court's computer equipment and/or

counsel's laptop computer.

       (5) Counsel are to make an appointment with the Case Manager prior to the

hearing to familiarize themselves and their support staff with the courtroom

technology if they are not already experienced in its use. Counsel are required to

contact the Case Manager at 504-589-7683 before Monday, January 6, 2020 at 3:00

p.m.

       (6) Unless otherwise agreed by counsel, any demonstrative exhibits are to be

exchanged with opposing counsel no later than Monday, January 6, 2020 at 3:00 p.m.
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      (7) The Court will allow 15 minutes per side for opening statements and 15

minutes per side for closing arguments. Additionally, it will be determined, at the

close of the hearing, whether post-hearing memoranda will be required or allowed.

      (8) The Court will determine at the conclusion of hearing whether any post-

hearing memoranda are necessary and, if necessary, the Court will establish a

briefing schedule.

      New Orleans, Louisiana, this the 3rd day of January, 2020.



                                      ______________________________________
                                      WENDY B. VITTER
                                      UNITED STATES DISTRICT JUDGE
